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            EXHIBIT C
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     GOOGLE LLC                        Highly Confidential                       February 13, 2025

                                                                                            1
·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · ·FOR THE DISTRICT OF COLUMBIA
· · ·____________________________
·3· ·UNITED STATES OF AMERICA,· · )
· · ·et al.,· · · · · · · · · · · )
·4· · · · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · )
·5· · · · · · ·U.S. Plaintiffs,· ·) Case No. 1:20-cv-03010-APM
· · · · · · · · · · · · · · · · · )
·6· ·v.· · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · )
·7· ·GOOGLE LLC,· · · · · · · · · )
· · · · · · · · · · · · · · · · · )
·8· · · · · · ·Defendant.· · · · ·)· Case No. 1:20-cv-0715-APM
· · ·____________________________ )
·9· ·STATE OF COLORADO, et al.,· ·)· HON. AMIT P. MEHTA
· · · · · · · · · · · · · · · · · )
10· · · · · · ·U.S. Plaintiffs,· ·)
· · · · · · · · · · · · · · · · · )
11· ·v.· · · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · )
12· ·GOOGLE LLC,· · · · · · · · · )
· · · · · · · · · · · · · · · · · )
13· ·Defendant.· · · · · · · · · ·)
· · ·____________________________ )
14

15

16· · · · · · · · ** HIGHLY CONFIDENTIAL **

17· · · · ·Videotaped Deposition of PHIROZE PARAKH

18· · · · · · · · · Palo Alto, California

19· · · · · · · ·Thursday, February 13, 2025

20

21

22

23

24· · · · · · · ·Reported Stenographically by

25· · · · · Michael P. Hensley, RDR, CSR No. 14114


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·1· · · · Q.· ·And it's from Peter Pilar.

·2· · · · A.· ·Mm-hmm.

·3· · · · Q.· ·Who is Peter Pilar?

·4· · · · A.· ·I don't know.

·5· · · · Q.· ·Okay.· And he starts:

·6· · · · · · · · ·[As Read]· Hey, everyone.· Excited to

·7· · · · · · ·see all the new investments into getting

·8· · · · · · ·high quality Search results fast.

·9· · · · · · ·And then he says:

10· · · · · · · · ·[As Read]· Given the Bard timeline,

11· · · · · · ·I'm not sure we can risk waiting for the

12· · · · · · ·new Fastsearch to land.

13· · · · A.· ·Mm-hmm.

14· · · · Q.· ·And I'm not sure that's him writing, but

15· ·that's what it says.

16· · · · A.· ·Mm-hmm.

17· · · · Q.· ·And then it says:

18· · · · · · · · ·[As Read]· Currently the majority of

19· · · · · · ·Rankbrain and DeepRank live inside the

20· · · · · · ·RankbrainTwiddler, and NGSscorer.

21· · · · A.· ·Yep.

22· · · · Q.· ·Do you see that?

23· · · · A.· ·Yes.

24· · · · Q.· ·What is the "NGSScore"?

25· · · · A.· ·Next generation scorer.


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·1· · · · Q.· ·Okay.· And what is that?

·2· · · · A.· ·It is a --

·3· · · · · · ·So NGS is a mechanism that allows us to

·4· ·rebalance different components of our scoring

·5· ·formula so that we have a better handle of relevance

·6· ·or freshness or things like that, popularity.

·7· ·That's what it is.

·8· · · · Q.· ·Okay.· And then I want to focus you on the

·9· ·very top email of Exhibit 4 where it says:

10· · · · · · · · ·[As Read]· If QRewrite is already on

11· · · · · · ·the critical path.

12· · · · A.· ·Yeah.

13· · · · Q.· ·And what is QRewrite?

14· · · · A.· ·Query Rewrite; so it is basically the --

15· ·if you remember the Search flow, there's query comes

16· ·in.· There's a phase in our scoring -- in our Search

17· ·flow where we will expand on the query synonyms,

18· ·spelling correction, annotations, things of that

19· ·happen in QRewrite.· It is a very -- since it

20· ·happens on every query, it's on the critical path

21· ·for latency, and it has very, very tight latency

22· ·budgets.

23· · · · Q.· ·Is Query Rewrite used to fanout queries --

24· ·AI -- well, any query, actually, for AI Overviews?

25· · · · A.· ·No.· No.


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·1· · · · Q.· ·Okay.· You can put that document aside for

·2· ·now.

·3· · · · A.· ·Oh, sure.· Sorry.

·4· · · · · · ·ATTORNEY AGUILAR:· Okay.· Let's take a

·5· ·look at a different document.

·6· · · · · · ·We'll do Tab F.

·7· · · · · · ·I'd like to mark the document with Bates

·8· ·number GOOG-DOJ-34493982 as Exhibit 5.

·9· · · · · · ·(Exhibit 5 was marked for identification.)

10· · · · · · ·THE WITNESS:· Thank you.

11· ·BY ATTORNEY AGUILAR:

12· · · · Q.· ·Mr. Parakh, do you recognize the document

13· ·marked as Exhibit 5?

14· · · · A.· ·As Exhibit 5, yes.

15· · · · Q.· ·What is the document marked as Exhibit 5?

16· · · · A.· ·I believe this is a data card document,

17· ·and if I read the context, it is a request to take

18· ·the V pretrained model and adds some form of data to

19· ·it.· And this is a request -- this would be the

20· ·example of a data card that would need approval for

21· ·use.

22· · · · Q.· ·What is a data card?

23· · · · A.· ·A data card is basically a sheet like

24· ·this, and it lists the data source, the providence

25· ·of the source, where it resides in our servers, if


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·1· ·at all, comments associated with it.· And it seems

·2· ·like there are a bunch of -- there are a host of

·3· ·policy questions that are -- that the engineers have

·4· ·to fill in when they want to include that data.· And

·5· ·then it goes for approval if -- if it can be used.

·6· · · · Q.· ·Okay.· So the title of this document is

·7· ·"Search training data for Gemini v3 pretrained

·8· ·model."

·9· · · · · · ·Do you see that?

10· · · · A.· ·Yes.

11· · · · Q.· ·Okay.· A Gemini v3 pretrained model is a

12· ·model that Google uses throughout --

13· · · · A.· ·Correct.

14· · · · Q.· ·-- Google -- sorry.

15· · · · · · ·A Gemini v3 training model is a model that

16· ·Google can use throughout all of Google; is that

17· ·correct?

18· · · · · · ·ATTORNEY YEAGER:· Object to the form.

19· · · · · · ·And, Phiroze, remember to give her a

20· ·second to finish the question and for me to object

21· ·before you respond.

22· · · · · · ·THE WITNESS:· Yeah.

23· ·BY ATTORNEY AGUILAR:

24· · · · Q.· ·So I'll try one more time.

25· · · · · · ·Gemini v3 training -- Gemini 3 pretrained


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·1· ·model is a model that can be used throughout Google?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And then there's a heading called

·4· ·"context."

·5· · · · · · ·Do you see that?

·6· · · · A.· ·Yes.

·7· · · · Q.· ·Okay.· And then the context reads:

·8· · · · · · · · ·[As Read]· This document describes the

·9· · · · · · ·data used for training the Gemini v3

10· · · · · · ·pretrained model, specifically the KI data

11· · · · · · ·used in it.

12· · · · A.· ·Mm-hmm.

13· · · · Q.· ·KI data here refers to Search data;

14· ·correct?

15· · · · A.· ·K&I.· Search is a part of it.

16· · · · Q.· ·Yeah, and K&I data here refers to Search

17· ·data?

18· · · · A.· ·Yeah.· It would have -- I don't know what

19· ·other data is in here.

20· · · · Q.· ·Okay.· And then it says "LGTMs."

21· · · · · · ·Does that mean look -- "Looks Good To

22· ·Mes"?

23· · · · A.· ·Yes, it is.

24· · · · Q.· ·And there are several reviewers listed

25· ·here.


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·1· · · · · · ·Do you see that?

·2· · · · A.· ·Yes.

·3· · · · Q.· ·And these are the reviewers that would

·4· ·have to approve the use of the data?

·5· · · · A.· ·Yes.

·6· · · · Q.· ·Okay.· And there's a lawyer listed here,

·7· ·general counsel of Google DeepMind, Tom Lue?

·8· · · · A.· ·Mm-hmm.

·9· · · · Q.· ·Rich Lee, the product counsel for Search?

10· · · · A.· ·Yes.

11· · · · Q.· ·Jeff Dean, who's Gemini leadership?

12· · · · · · ·Is Jeff Dean still at Google?

13· · · · A.· ·It would be news if he were not.

14· · · · Q.· ·And what is his role within Gemini?

15· · · · A.· ·Chief scientist kind of role, I would

16· ·imagine so.· I don't exactly know.

17· · · · Q.· ·Okay.· And then Koray Vinyals?

18· · · · A.· ·Yeah.

19· · · · Q.· ·And who is that?

20· · · · A.· ·Actually, it's Koray -- I can't pronounce

21· ·the second one, the K one, and then Oriol Vinyals.

22· · · · Q.· ·Okay.

23· · · · A.· ·These are three people:· Jeff, Koray, and

24· ·Oriol.

25· · · · Q.· ·Okay.· And Koray is who?


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